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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION
____________________________________

SIERRA CLUB INC., et al.

             Plaintiffs,
                                                  Case No.: 4:04CV120-SPM/AK
v.

JOHNSON, et al.,

           Defendants.
____________________________________


                ORDER GRANTING JOINT MOTION TO STAY

       THIS CAUSE comes before the Court upon the “Joint Motion for Stay”

(doc. 128). For good cause shown, it is hereby ORDERED AND ADJUDGED as

follows:

       1.    The motion to stay (doc. 136) is granted.

       2.    This case is stayed until June 6, 2008.

       3.    The parties shall file a status report with this Court on or before

             June 6, 2008.

       DONE AND ORDERED this twelfth day of May, 2008.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
